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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                                  10/21/2020
GLENN JOHNSON,                                            :
                                                          :
                                        Plaintiff,        :
                                                          :               19-cv-9664 (VSB)
                      -against-                           :
                                                          :                    ORDER
City of New York, et al.,                                 :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        On October 1, 2020, I signed a Case Management Plan and Scheduling Order in the

above-captioned case. (Doc. 21). On October 14, 2020, Plaintiff submitted a separate Case

Management Plan and Scheduling Order that has at least some information that conflicts with the

document I signed. (Doc. 22). Accordingly, it is hereby:

        ORDERED that the operative Case Management Plan and Scheduling Order in the

above-captioned action is at Doc. 21. To the extent that the parties wish to revise this, they are

directed to file an amended Case Management Plan and Scheduling Order with the Court. The

Clerk of Court is respectfully directed to mail a copy of this Order to the pro se Plaintiff.

SO ORDERED.

Dated: October 21, 2020
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
